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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA

SOCIAL POSITIONING INPUT           §
SYSTEMS, LLC,                      §
                                   §
      Plaintiff,                   §        Case No: 8:22-cv-00036
                                   §
vs.                                §        PATENT CASE
                                   §
CLICK LABS INC.,                   §
                                   §
      Defendant.                   §
__________________________________ §

                   JOINT STIPULATION OF DISMISSAL

       Plaintiff Social Positioning Input Systems, LLC, and Defendant Click

 Labs, Inc., by their respective undersigned counsel, hereby STIPULATE and

 AGREE as follows:

       1.   All claims asserted by the Plaintiff in this Action are dismissed with

 prejudice and all counterclaims asserted by the Defendant in this Action are

 dismissed without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.   Each party shall bear its own costs and attorneys’ fees with respect

 to the matters dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the

 parties.




JOINT STIPULATION OF DISMISSAL                                               |1
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Dated: April 13, 2022.             Respectfully submitted,

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JOINT STIPULATION OF DISMISSAL                                        |2
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                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing was filed
electronically and served by operation of the Court’s electronic filing system on
April 13, 2022. Parties may access the foregoing through the Court’s system.

                                      /s/Barbra A. Stern
                                      Barbra A. Stern, Esquire




JOINT STIPULATION OF DISMISSAL                                               |3
